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UNITED STATES DISTRICT COURT
in and for the SOUTHERN DISTRICT OF NEW YORK

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Abraham Mykoff, individually CASE NO.: ae a
Ron Greenberg, individually ot
Plaintiffs, COMPLAINT
Vs. DEMAND FOR JURY TRIAL

HOME DEPOT, INC.; COURI, aka

Cuori International (H.K.) Ltd., aka

Cuori Group, aka Ningbo Prince Electric
Appliance Co. Ltd., aka Millan Stylee

Alan Kape, aka owner, Kape Insurance

Agency, Individually, and, in official capacity

Scott Fluger, Kape insurance Agency,
Individually, and in official capacity

Philadelphia Insurance Companies, aka
Philadelphia Consolidated Holding Corp.

aka Tokio Marine Holdings, Inc.;

Jim Cahill, Mayor, The City of New Brunswick
Individually and in official capacity Middlesex
Board of County Commissioners, Robert

Rawls, Director, The City of New Brunswick

Fire Department, individually and in official capacity,
Charles E, Tomaro, Freeholder Deputy Director,
Middlesex County's Board of Chosen Freeholders,
individually and in Official Capacity

Christoper Paladino, DEVCO, Individually and in
official capacity, Mitch Karon, Executor Director,
New Brunswick Parking Authority, Individually and
in official capacity, Board of Commissioners New
Brunswick Parking Authority, Leonard T. Bier,
Board, Individually and in Official Capacity,

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Leonard T. Bier, General legal counsel for New
Brunswick Parking Authority, Individually and in
Official Capacity. Bier Associates, Individually
and in Official Capacity, New Brunswick Parking
Authority Board Board of Commissioners,
DOES 1 to 100,

Defendants,

GENERAL ALLEGATIONS
1. JURISDICTION AND VENUE
1. Plaintiffs Jurisdiction is based on federal diversity subject matter jurisdiction
pursuant to 28 U.S.C. § 1332.

2. This court is exercising diversity jurisdiction pursuant to 28 U.S.C. § 1332.
ll. PARTIES

3. Plaintiff ABRAHAM MYKOFF, Rabbi, Congregation Poile Zedek resides in Edison,
New Jersey.

4, Plaintiff, Ron Greenberg, Trustee, Congregation Poile Zedek resides in East
Brunswick, New Jersey.

5. Defendant HOME DEPOT, INC.; is a Delaware Corporation, Corporate Headquarters
Atlanta, Gerogia 30339.

6. Defendant Cuori, Cuori International (H.K.) Ltd., aka Cuori Group, aka Ningbo Prince
Electric Appliance Co. Ltd. (H.K.), aka Millan Stylee USA, Inc.;

7. Ningbo Prince Electric Appliance Co., Ltd., Mr. Feng Cen, Manager, Xinpu Industry
Zone, Cixi, Zhejiang 3150000, China

8. Defendant Alan Kape, aka owner, Kape Insurance Agency, Individually, and, in his
official capacity, 510 Hamilton Blvd., South Plaintifeld, New Jersey 07080. Kape

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Insurance Agency is a New Jersey Corporation.

7. Defendant Scott Fluger, Kape Insurance Agency, Individually, and in his official
capacity, 510 Hamilton Blvd., South Plaintifeld, New Jersey 07080. Is a New Jersey
Corporation.

8. Defendant Philadelphia Insurance Companies, aka Philadelphia Consolidated Holding
Corp. is a Delaware Corporation with Corporate Headquarters located at One Bala
Plaza, Suite 100, Bala Cynwyd, Pa. 19004.

9, Defendant Tokio Marine Holdings, Inc.; with USA Corporate Headquarters located at
13403 Northwest Freeway, Houston, Texas 77040. Tsuyoshi Nagano, Chairman of
Board ~ Tokio Marine Holdings, Inc. and Nichido Fire Insurance Company, Ltd., Japan.

11.“CUORI” shail refer to Cuori, Cuori International (H.K.) Ltd., aka Cuori Group, aka
Ningbo Prince Electric Appliance Co. Ltd. (H.K.), aka Millan Stylee USA, Inc.
collectively.

12.“TOKIO” shall refer to Philadelphia Insurance Companies, aka Philadelphia
Consolidated Holding Corp. collectively.

13. Jim Cahill, Mayor, The City of New Brunswick, incorporated in New Jersey, Individually
and in official capacity.

14, Middlesex Board of County Commissioners, incorporated in New
New Jersey.

15. Robert Rawls, Director, The City of New Brunswick Fire Department, incorporated in
New Jersey, Individually and in official capacity,

16. Charies E. Tomaro, Freeholder Deputy Director, Middlesex County's Board of Chosen
Freeholders, incorporated in New Jersey, and Individually and Official Capacity.

17.Christoper Paladino, DEVCO, incorporated in New Jersey, Individually and in official
capacity,

18. Mitch Karon, Executor Director, New Brunswick Parking Authority, Individually and
in official capacity,

19.Board of Commissioners, New Brunswick Parking Authority, incorporated in New
Jersey. Leonard T. Bier, Board Member, individually and in Official Capacity.

20.Leonard T. Bier, General legal counsel for New Brunswick Parking Authority,
individually and in Official Capacity.

21.Bier Associates and Leonard T. Bier, Individually and in Official Capacity.

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22. Jim Cahill, Mayor, the City of New Brunswick, incorporated in New Jersey,
individually and in official capacity

23. Robert Rawls, Director, the City of New Brunswick Fire Department,
incorporated in New Jersey, individually and in official capacity.

24, Charles E. Tomaro, Freeholder Deputy Director, individually and in Official

Capacity Middlesex County's Board of Chosen Freeholders, incorporated in

New Jersey.

iil. STATEMENT OF FACTS

CUORI'S_ defective heaters:
Sometime prior to plaintiffs, Abraham Mykoff, purchase on 10-22-17 Ningbo Prince

Electric Appliance Co. Ltd., established in 2007, manufactured and/or caused the
manufacture, for sale to the general public [ as a major and globally famous Chinese
manufacturer and exporter of oil radiators especially in the industry of electric
appliances. The subject Petroleum oil [ “enviromental protection oil “ Jfilled electric
radiator space heaters that were defective for fire hazard. Ningbo Prince Electric
Appliance Co. exported to Millan Stylee USA Inc. through the port of Long Beach,

California.

As Consignee on behalf of Ningbo Prince Electric Appliance Co. Ltd. Cuori, aka Cuori
International (H.K.) Ltd., aka Cuori Group were distributors for the subject heaters of
identical, near identical and similar designs throughout the United States. HOME

DEPOT, INC. specifically store number #918, Milltown, New Jersey 08850 with an

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itemized Protection Plan sold to Rabbi Abraham Mykoff the electric Petroleum oil filled
radiator heaters purchased on 22™ October 2015 further placing the defective heaters
into the stream of commerce. On Friday, 23% October 2015, aforementioned heaters
failed by igniting theirown volatile vapors during initial operation, [ thusly,
operating in this faiture mode by functioning as an electrically operating pressure

cooker fire bomb, }

22. The U.S. Consumer Products Safety Commission, hereinafter, CPSC, has established

guidelines for manufacturers and sellers to recall defective and dangerous products.
Defective products are broken into three categories:

Class A Hazards: These exist when a risk of death or grievous injury or illoness is
likely or very likely, or serious injury or illness is very likely. Class A hazards warrant
the highest level f attention. They call for a company to take immediate,
comprehensive, and expansive corrective action measures to identify and notify
consumers retailers and distributors having the defective product and to remedy the
defect through repair or replacement of the product, refunds, or other measures.

Class B Hazards: These exist when a risk of death or grievous injury or illness is not
likely to occur, but is possible, or when serious injury or illness is likely, or moderate
injury or illness is very likely.

Class C Hazards: These exist when a risk of death or grievous injury or illness is not
likely, but is possible, or when moderate injury or illness is not necessarily likely, but is

possible. (CPSC Recall Handbook, ( Revised 2 March 2012, p. 15-16 ).

23.The CPSC aiso states In its Recall Handbook, “[rlegardiess of whether a product

defect is classified as a Class A, B. or C priority hazard, the common element is that

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each of these defects creates a substantial product hazard that requires corrective

action to reduce that risk of injury,” (CPSC Recall Handbook, p. 16 ).

24. Additionally, the CPSC reads in part:

V. (A). Preparing For A Product Recall

It is unlikely that any two recall programs will ever be identical. Therefore, companies
should be prepared to address issues that invariably arise. For instance:

a. What is the defect that causes the product hazard?
b.What caused the product defect to occur in the first place?
c.Where are the unsafe products? How many are there?

d.Did the product fail to comply with government safety regulations?
How?

e.Was the government or the appropriate regulatory body informed about
the defect or lack of compliance?

f.Has the company discontinued production and shipments of these
products to distributors?

g.Has the company notified retailers to stop selling the product and asked them
to help identify consumers who own the product?

h.Has the company started reviewing existing databases to identify potential
product owners, e.g., product registration and customer service records (CPSC

Recall Handbook, p. 17 ).

25. Additionally, the CPSC describes the objectives of a recall:

a.

b.

To locate all defective products as quickly as possible;

To remove defective products from the distribution chain and from the
possession of consumers; and

To communicate accurate and understandable information in a timely manner
to the public about the product defect, the hazafd, and the corrective action.

(CPSC Recall Handbook, p. 18 }.

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STATEMENT OF CLAIMS

Cc 1: GENERAL NEGL E

Plaintiffs’ Abraham Mykoff and Ron Greenberg incorporate by reference the
General Allegations set forth above as though set forth in full in this claim.

Defendants, and each of them, knew or should have known that the Cuori
Petroleum oil filled electric radiator space heaters hereinafter, heaters, sold to Mr. Mykoff was
defective and a danger to users of the heaters.

Defendants, and each of them, therefore had a duty of reasonable care to
refrain from selling the defective heaters and/or provide warnings to the danger to potential
purchasers and users of the heaters.

Despite that, defendants, and each of them, breached their duty of reasonable
care and manufactured, distributed and/or sold the defective heaters, and did so without
warning of the danger associated with the use of the Cuori heaters.

Additionally, once defendants became aware of recalls mandated by CPSC,
defendants, and each of them, had a duty to make reasonable efforts to assure that all
customers of heaters distributed in the United States were advised of said defects and/or
destroyed in order to assure that no defective heaters remained in use. Defendants breached
that duty of care by failing to act reasonably in recalling the defective heaters.

Furthermore, defendant HOME DEPOT, INC. knew or should have known of the
danger associated with the use of Cuori's heaters containing re-used oil allegedly filled in
China, and recalls from other manufactures of heaters, and should have taken reasonable

action to withdraw any and all heaters from its retail sales and/or should have made

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reasonable efforts to contact customers about the recall and communicate to customers
about the recall and the dangers associated with these heaters. Plainiffs are informed and
believe and therein allege that despite its knowledge of dangers associated with these
heaters and recails, defendant HOME DEPOT, INC. made no efforts whatsoever to withdraw
these heaters from retail sales or distribution and made no efforts to notify its customers
about the recalls and dangers associated with these heaters.

As a proximate result of the negligence of defendants, and each of them, the
structure of Congregation Poile Zedek was destroyed by the fire caused by the defects in the
CUORI heaters.

As a further proximate resuit of the negligence of defendants, and each of them,
Plaintiffs’ allege that Rabbi Abraham Mykoff lost his income after thirty years of unending
service at Congregation Poile Zedek, the Community lost use of this only Synagogue after
ninety-two years in New Brunswick, New Jersey, its Members lost their Rabbi, use of and
Right to Worship in their Shul, traveling Orthodox Jews lost their use of and right to worship
and they had done for ninety-two years, the Synagogue sustained economic and non-
economic losses as irreparable harm and injury.

Punitive damages pursuant to New Jersey The New Jersey Products Liability
Act ("NJPLA”) and New Jersey statute, the Consumer Fraud Act (“CFA”),to be determined
according to proof at the time of trial on the grounds that defendants’ conduct in failing to take
sufficient action to warn purchases, owners, and users of the defective heaters and/or to take
sufficient action to effectively recall the defective heaters was despicable conduct which
constituted malice and oppression as defined under New Jersey Civil Code
The New Jersey Products Liability Act (“NJPLA’) and New Jersey statute, the Consumer

Fraud Act (“CFA”),. Plaintiffs’ further alleged on information and belief that the actions upon

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which Plaintiffs’ claim for punitive damages is based were taken by the corporate defendants
directly and/or the corporate defendants authorized or ratified the conduct of its direct or
indirect employees, agents, distributors and/or that the actions were taken by an officer,

director or managing agents of the corporations, and each of them.

CLAIM il: STRICT PRODUCT LIABILITY

Plaintiffs’ Abraham Mykoff and Ron Greenberg incorporate by reference the
General Allegations set forth above as though set forth in full in this claim.

The CUORI heaters sold fo Abraham Mykoff. for use by Congregation Poile
Zedek was defective in manufacture and/or design and/or was defective because defendants,
and each of them, failed to warn of the danger associated with the use of the heaters.

Defendants, and each of them, placed the defective CUORI heaters on the
market that failed in Congreation Poile Zedek's structure by igniting their own volatile vapors
during initial operation, thusly operating in this faliure mode by functioning as an electrically
operating pressure cocker fire bomb, knowing they were to be used without inspection for
defects.

The defective CUORI heaters that destroyed Congregation Poile Zedek's
structure were used in an intended or reasonably foreseeable manner, was in a defective
condition when they left defendants possession and was the legal cause of Plaintiffs’ injuries
or damages.

As the proximate result of the defective product manufactured, distributed and/or
sold by defendants, and each of them, Abraham Mykoff and the structure for Congregation

Poile Zedek were substantially injured by the fire caused by the defects in the CUORI

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heaters.

As a further proximate result of the defective product manufactured, distributed
and/or sold by defendants, and each of them, Plaintiffs’ incurred the following damages
including, without limitation:

a. Past and future economic loss and damages to be determined
according to proof at the time of trial including, without limitation, economic damages for the
loss of the services Abraham Mykoff provided to Congregation Poile Zedek as well as loss of
business profits, income, and other economic damages:

b. Punitive damages to be determined according to proof at the time
of the trial pursuant to The New Jersey Products Liability Act (“NJPLA”) and New Jersey
statute, Consumer Fraud Act ("“CFA”),on the grounds that defendants’ conduct in failing to
take sufficient action to warn purchasers, owners, and users of the defective CUORI heaters
and/or to take sufficient action to effectively recall the defective CUORI heaters was
despicable conduct which constituted malice and oppression as defined under New Jersey
Civil Code Section New Jersey statute, the Consumer Fraud Act (“CFA”), Plaintiffs' further
alleged on information and belief that the actions upon which Plaintiffs’ claim for punitive
damages is based were taken by the corporate defendants directly and/or the corporate
defendants authorized or ratified the conduct of its employees direct or indirect employees,
agents, distributors and/or that the actions were taken by an officer, director or managing

agents of the corporations, and each of them.

CLAIM Ili. GENERAL NEGLIGENCE

( PERSONAL INJURY, PROPERTY DAMAGE AND ECONOMIC LOSSES BY

ABRAHAM MYKOFF, RON GREENBEG AS AGAINST ALL DEFENDANTS)

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Plaintiffs’ Abraham Mykoff and Ron Greenberg incorporate by reference the
General Allegations set forth above as though set forth in full in this claim.

Defendants, and each of them, knew or should have known that the CUORI
heaters sold to Abraham Mykoff were defective and created a danger to users of the heater.

Defendants, and each of them, therefore had a duty of care to refrain from
Selling the defective heater and/or to provide warnings as to the danger to potential purchases
and users of the heaters.

Despite that, Defendants, and each of them, breached their duty of care and
manufactured, distributed and/or sold the defective heater, and did so without warning of the
danger associated with the use of the CUORI heaters.

Despite that, defendants, became aware of recalls mandated by CPSC,
defendants, and each of them, had a duty of care to make reasonable efforts to assure that all
of the defective CUORI heaters distributed in the United States were corrected for the defect,
were reacquired by CUORI and/or were destroyed in order to assure that no defective heaters
remained in use. defendants’ breached that duty of care by to act reasonably in recalling the
the defective heaters.

Furthermore, defendant HOME DEPOT, INC. knew or should have known of the
danger associated with the use of Cuori's heaters containing re-used oil allegedly filled in
China, and recalls from other manufactures of heaters, and should have taken reasonable
action to withdraw any and all heaters from its retail sales and/or should have made
reasonable efforts to contact customers about the recall and communicate to customers
about the recail and the dangers associated with these heaters. Plaintiffs' are informed and
believe and therein allege that despite its knowledge of dangers associated with these

heaters and recalis, defendant HOME DEPOT, INC. made no efforts whatsoever to withdraw

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